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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 LOUIS AGRE, et al.                              CIVIL ACTION


          v.                                     NO. 17-4392


 THOMAS W. WOLF, Governor of the
 Commonwealth of Pennsylvania,
 JONATHAN MARKS, Commissioner of
 the Pennsylvania Bureau of Commissions,
 Elections, and Legislation, ROBERT
 TORRES, Acting Secretary of the
 Commonwealth of Pennsylvania, JOSEPH
 B. SCARNATI, III, President Pro Tempore
 of the Pennsylvania Senate, and MICHAEL
 C. TURZAI, Speaker of the Pennsylvania
 House of Representatives, in their official
 capacities.


                                  MEMORANDUM
SHWARTZ, Circuit Judge, concurring in the judgment.                   January 10, 2018

      Twenty-six Pennsylvania residents (collectively “Plaintiffs”) 1 representing all

eighteen of Pennsylvania’s congressional districts allege that the Commonwealth’s




      1
       Plaintiffs are Louis Agre, William Ewing, Floyd Montgomery, Joy Montgomery,
Rayman Solomon, John Gallagher, Ani Diakatos, Joseph Zebrowitz, Shawndra
Holmberg, Cindy Harmon, Heather Turnage, Leigh Ann Congdon, Reagan Hauer, Jason
Magidson, Joe Landis, James Davis, Ed Gragert, Ginny Mazzei, Dana Kellerman, Brian
Burychka, Marina Kats, Douglas Graham, Jean Shenk, Kristin Polston, Tara Stephenson,
and Barbara Shah. Am. Compl., ECF No. 88.
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congressional map is so politically gerrymandered 2 that it violates the Elections Clause,

Article I, Section 4 of the Constitution. 3 Although there may be a case in which a

political gerrymandering claim may successfully be brought under the Elections Clause,

this is not such a case. Plaintiffs lack standing to bring a statewide challenge to the map

because they have not presented a plaintiff from each congressional district who has

articulated a concrete and particularized injury in fact. Moreover, even if Plaintiffs

established standing, or if Plaintiffs had raised district-specific challenges to the 2011

map, their claim would still fail because the legal test they propose for an Elections

Clause claim is inconsistent with established law. For these reasons, I join Chief Judge

Smith in entering judgment 4 in favor of the Legislative and Executive Defendants. 5


       2
          “The term ‘political gerrymander’ has been defined as ‘the practice of dividing a
geographical area into electoral districts often of highly irregular shape, to give one
political party an unfair advantage by diluting the opposition’s voting strength.” Vieth v.
Jubelirer, 541 U.S. 267, 271 n.1 (2004) (quoting Black’s Law Dictionary 696 (7th ed.
1999)) (internal brackets omitted). Similarly, the term “partisan gerrymandering” is used
to describe “the drawing of legislative district lines to subordinate adherents of one
political party and entrench a rival party in power.” Ariz. State Legis. v. Ariz. Indep.
Redistricting Comm’n, 135 S. Ct. 2652, 2658 (2015). The terms political
gerrymandering and partisan gerrymandering are used interchangeably.
        3
          The Complaint also alleged claims under the First Amendment and the Equal
Protection Clause, which were dismissed before trial.
        4
          I would enter judgment in Defendants’ favor pursuant to Federal Rule of Civil
Procedure 52, since my opinion is based on a factual finding. When evaluating a Rule 52
motion, a court makes credibility determinations but “does not view the evidence through
a particular lens or draw inferences favorable to either party.” EBC, Inc. v. Clark Bldg.
Sys., Inc., 618 F.3d 253, 271-72 (3d Cir. 2010).
        5
          Defendants are Thomas W. Wolf, in his official capacity as Governor of
Pennsylvania, Robert Torres, in his official capacity as Secretary of State of
Pennsylvania, and Jonathan Marks, in his official capacity as Commissioner of the
Bureau of Elections (“Executive Defendants”). Michael C. Turzai, in his official
capacity as Speaker of the Pennsylvania House of Representatives, and Joseph B.
Scarnati, III, in his official capacity as Pennsylvania Senate President Pro Tempore,
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                                            I6

      The 2010 census revealed that Pennsylvania’s population had dropped and, as a

result, the Commonwealth lost one seat in Congress. To address the reduction from

nineteen to eighteen congressional seats, Pennsylvania had to redraw its congressional

district lines, and in 2011, Pennsylvania adopted a new congressional map (the “2011

Plan”).

      The creation of the 2011 Plan was tasked, in part, to Erik Arneson, the

Communications and Policy Director for Republican State Senator Dominic Pileggi, and

William Schaller, who worked for the Republican House Caucus of the Pennsylvania

General Assembly. 7 Schaller admitted that the map-drawing process involved forming a

map that was “[b]ased on consultations on how the districts should be put together from

the negotiations and discussions with the stakeholders,” specifically “Republican

stakeholders.” Schaller Dep. 75:24-76:22. He said that “the information [he] got about

the discussions among the Republican stakeholders in that legislative process was

probably the most important factor that [he] used in drawing the maps.” Schaller Dep.


intervened as defendants (“Legislative Defendants”). Mot. to Intervene, ECF No. 45;
Order granting Mot., ECF No. 47.
        6
          My colleague Judge Baylson has thoroughly summarized the trial testimony.
During trial, we heard testimony either in-person or through depositions from Plaintiffs,
legislative staffers who helped develop the districting map that became the 2011 Plan,
legislators who witnessed the process surrounding the adoption of the 2011 Plan, and
experts who explained, among other things, how the 2011 Plan incorporated or failed to
comply with traditional redistricting criteria.
        7
          The testimony for these legislative staffers was presented via depositions.
Although the panel was unable to observe their demeanor, the staffers’ answers to certain
questions caused all three of us to question how forthcoming those witnesses were in
their testimony.
                                            3
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76:23-77:5. Arneson similarly testified that during the map-drawing process, he met with

members of Congress, including Republican Representative Bill Shuster, whose

preferences regarding the composition of his congressional district “were taken into

account.” Trial Tr. Dec. 6, 2017 PM 96:10-14.

       Democratic State Senator Daylin Leach testified that “Democrats were not invited

to participate in any way” in the creation of the 2011 Plan, and thus neither he nor other

Democrats had personal knowledge regarding the map’s creation. Leach Dep. 19:22-

20:14. Democratic Representative Greg Vitali provided a similar description of the

process. The exclusion of Democrats and the lack of transparency concerning the map

was also echoed in comments on the floor of the Pennsylvania State Senate and

Pennsylvania House of Representatives. See Legis. Defs.’ Ex. 21 at 2692, 2694, 2699;

Legis. Defs.’ Ex. 22 at 2728, 2730.

       Arneson and Schaller relied upon data, referred to by the parties as the “Turzai

dataset,” that included fields for, among other things, election results for all state

(Executive, Senate, House) and national elections (President, Senate, U.S. House) for

2004 to 2010 in even-numbered years. The dataset also included demographic data,

partisan vote share at the precinct level, party registration for the 2004-2010 elections,

and voter information at the county, municipal, precinct, and census block levels, with

census blocks constituting the smallest statistical geographic unit. Anne C. Hanna, a

Mechanical Engineering Ph.D. candidate at the Georgia Institute of Technology,

reviewed the Turzai dataset and found that it included a large volume of partisan voting

results and partisan voter registration data for each county for all thirty-three even-year

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statewide legislative and Congressional elections from 2004 to 2010. She also testified

that partisan indices were constructed for each county. The data was available to all four

caucuses of Pennsylvania’s legislative bodies.

       According to the testimony of the legislative staffers, the map drawing duties were

split in half. The Senate staff drew the lines for the eastern part of the Commonwealth,

and the House staff drew the lines for the western part. Arneson testified that numerous

versions of the maps were drawn, but it appears that only one version, which became

known as the 2011 Plan, was publicly shared.

       The 2011 Plan, formally known as Senate Bill 1249, was first introduced in the

Pennsylvania Senate’s State Government committee as a “shell bill” with a printer

number 8 of 1520 on September 14, 2011. See Exec. Defs. Ex. 1 at ¶ 1, Ex. A. As a

“shell bill,” it contained no actual legislative content, an “unusual” feature that Senator

Andrew Dinniman could not recall occurring with any other legislation. In short, all the

“shell bill” said for each of the eighteen congressional districts was that the particular

district “is composed of a portion of this Commonwealth.” Exec. Defs. Ex. 1 at Ex. A.

Thus, it did not identify the municipalities or counties that would comprise a particular

district. Senate Bill 1249 was not actually given any legislative content concerning the

municipalities or counties assigned to a particular district until the morning of December

14, 2011, when it came before the State Government committee with printer number

1862. After the bill with printer number 1862 was voted out of the State Government



       8
           Printer numbers are used to designate different versions of a bill.
                                                5
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committee that morning, it was sent to the Appropriations committee. See Exec. Defs.

Ex. 1 at ¶¶ 5-6 & Ex. B. Senator Dinniman testified that although Senate Rule 12

ordinarily requires at least six hours between a bill’s referral from the Appropriations

committee and a vote, that rule was suspended for this bill. The Appropriations

committee approved the bill, and the bill was then sent to the floor of the State Senate

with printer number 1869.

       The final vote on Senate Bill 1249, printer number 1869, required a suspension of

another Senate rule. The normal Senate rules prohibit voting after 11:00 pm, but this rule

was suspended because the Senate needed to vote on the bill before the end of the

legislative year. The bill passed the State Senate, Exec. Defs.’ Ex. 1 at ¶ 7, on a vote of

26-24, 9 and it was then reported to Pennsylvania’s House of Representatives, which

considered the bill on December 15, 2011 and December 19, 2011. Exec. Defs.’ Ex. 1 at

¶¶ 8-10; see also Legis. Defs.’ Ex. 20 at 2660; Legis. Defs.’ Ex. 21 at 2679-2702.

Following impassioned speeches from both sides of the aisle about the bill and the role of

partisanship in its creation—including a concession from then-State Representative

Turzai that “[p]olitics may be taken into account as a factor, although not the controlling

factor,” Legis. Defs’ Ex. 21 at 2735—the House passed the bill with a vote of 136 to 61

on December 20, 2011, Legis. Defs.’ Ex. 22 at 2736. Governor Tom Corbett signed the

bill into law on December 22, 2011. Exec. Defs.’ Ex. 1 at ¶¶ 13-14.




       9
       Of the twenty-four votes against Senate Bill 1249, four votes were cast by
Republicans. No Senate Democrats voted for the bill. See Pls.’ Ex. 29 at 0809.
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       Since the 2011 Plan’s passage, three congressional elections have occurred, and

each resulted in the election of thirteen Republican and five Democratic congressmen,

meaning Republicans have won 72 percent of the congressional seats, even though

Republicans earned only 49 to 56 percent of the votes in those three elections. See Pls.’

Ex. 31 at 6.

       Plaintiffs’ expert Daniel McGlone, a senior geographic information systems

(“GIS”) analyst at Azavea, testified that the effect of the 2011 Plan was to “pack” and

“crack” Democratic voters in certain districts. Packing refers to concentrating certain

members of a political party in a single district, thereby allowing the other party to win

the remainder of the districts. Cracking refers to splitting members of a political party

among multiple districts to prevent them from forming a majority in a single district. For

example, McGlone explained that under the 2011 Plan, the Twelfth Congressional

District in southwestern Pennsylvania was made safely Republican by moving certain

Democratic areas from it to the Fourteenth Congressional District. The new Twelfth

Congressional District then became the home of two incumbent Democratic

congressmen, who had to run against each other for the nomination and then run against a

Republican challenger in what had become a heavily Republican-populated district. This

move simultaneously reduced the number of Democratic representatives and increased

the number of Republican ones in Pennsylvania’s congressional delegation. Similarly,

McGlone explained how the Sixth District split Reading and its Democratic voting base

from its suburbs and placed Reading into the Sixteenth District to pack more Democratic

voters there. According to McGlone, the Sixth District thereby became more likely to

                                             7
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elect a Republican representative. McGlone also concluded that the shape of the district

boundaries in the 2011 map, which included boundaries that reached around municipal

lines or split municipalities, demonstrated a deliberate effort to gather voters in specific

districts based on their political preferences rather than applying traditional districting

criteria, such as preservation of political subdivisions, compactness, contiguity,

preservation of communities of interest, continuity, respect for geographic boundaries,

and incumbency. 10 He also testified that the 2011 Plan’s boundaries would consistently

produce thirteen Republican representatives and five Democratic representatives, Trial

Tr. Dec. 4, 2017 PM 9:16-20, which, as stated before, has been the result of the 2012,

2014, and 2016 congressional elections.

       Plaintiffs testified about how the 2011 Plan impacted them. Plaintiffs are

registered voters from Pennsylvania’s eighteen congressional districts and represent

different age groups, genders, educational backgrounds, and occupations. While many

are registered Democrats, at least three are registered Republicans. Many plaintiffs

asserted that the 2011 Plan diluted their votes 11 and prevented them from making a


       10
           McGlone also described other districts, and Judge Baylson has provided detailed
descriptions of five congressional districts in his very thorough opinion.
        11
           See Diakotos (CD 1) (Trial Tr. Dec. 6, 2017 AM 94:2-3) (stating “I just feel like
my voice isn’t heard anymore”); Agre (CD 2) (Trial Tr. Dec. 5, 2017 AM 97:3)
(testifying “my individual vote [is] affected . . . [because] it’s watered down”); Ewing
(CD 2) (Trial Tr. Dec. 5, 2017 PM 100:4-5) (testifying that “the ability to effectively
[support other candidates] has diminished” under the 2011 Plan); Holmberg (CD 3)
(Holmberg Dep. 18:7-9) (testifying “that’s another harm is to be heard”); Harmon (CD 5)
(Harmon Dep. 44:21-22) (“I don’t feel that my voice is being heard”); Magidson (CD 7)
(Trial Tr. Dec. 5, 2017 PM 58:16-18) (testifying “I don’t think my vote really counts for
much at all . . . I don’t think I can influence that district”); Landis (CD 8) (Trial Tr. Dec.
5, 2017 PM 82:17-19) (testifying that his “district is going to remain Republican
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meaningful electoral choice. 12 Many Plaintiffs also said that, as a result of the 2011 Plan,

their representatives were not responsive to their requests or inquiries. 13 Others testified




regardless of [his] vote and [his] voice is squashed”); Mazzei (CD 11) (Mazzei Dep.
22:19-22) (stating “my vote has been diluted by the way that the district lines are drawn
by political parties”); Kellerman (CD 12) (Kellerman Dep. 12:23-24, 13:3-6) (testifying
“my vote does not count as much as it should” and that it “has purposely been diluted”);
Kats (CD 13) (Kats Dep. 85:16) (testifying “my vote cannot make a difference”);
Burychka (CD 13) (Trial Tr. Dec. 5, 2017 PM 67:11-12) (testifying “I sometimes feel
that my voice is lost”); Shenk (CD 15) (Trial Tr. Dec. 5, 2017 PM 39:19-20, 40:4-6)
(testifying that the “map makes [her] vote a waste” and her vote does not have any
effect); Polston (CD 17) (Trial Tr. Dec. 5, 2017 AM 108:9-10) (stating “I am concerned
that my vote is diluted in my area”).
          12
             Solomon (CD 2) (Solomon Dep. 78:5-8) (noting that he is “harmed by the fact,
maybe, that in some ways you believe that the congressional election . . . is
predetermined”); Ewing (CD 2) (Trial Tr. Dec. 5, 2017 PM 98:21-23) (testifying that, as
a result of partisan gerrymandering, “there’s no contest” in his district because it is “very
heavily democratic”); Gragert (CD 10) (Gragert Dep. 37:7-14) (noting that as to possible
candidates for the Tenth Congressional District “the person [he] want[s] is not able to run
or . . . the district is just too large, or you’ve got to have too much money, you’ve got to
be on the other side, three hours away, in order to get elected”); Graham (CD 14)
(Graham Dep. 28:15-17) (stating “it’s harmed me having a democrat that many years that
I don’t have a choice”); Shenk (CD 15) (Trial Tr. Dec. 5, 2017 PM 47:6-9) (testifying
that “other voices have given up hope in running against [the incumbent]” and “we don’t
have competitive elections”); Montgomery (CD 16) (Montgomery Dep. 29:7-11) (stating
that “it [the 2011 Plan] stopped me from getting my choice.”); Shah (CD 18) (Shah Dep.
12:21-24) (noting that in the last two elections she “didn’t have a chance to vote for any
Democrats because there were no Democrats on the ballot”).
          13
             See Agre (CD 2) (Trial Tr. Dec. 5, 2017 AM 97:21-22) (stating that “if we had
fair districts, we would have more responsive congresspeople”); Holmberg (CD 3)
(Holmberg Dep. 16:24-25, 17:1) (stating that “because the district is no longer
competitive, Representative Kelly does not have to listen to his voters”); Hauer (CD 6)
(Trial Tr. Dec. 5, 2017 AM 119:7-24) (testifying that her Congressman has not responded
to her correspondence and that he “vot[es] along party lines rather than voting for his
constituents”); Mazzei (CD 11) (Mazzei Dep. 25:6-11) (testifying “I don’t feel I have a
responsive representative . . . because he doesn’t worry about my vote . . . because his
seat is guaranteed . . . .”); Shenk (CD 15) (Trial Tr. Dec. 5, 2017 PM 48:8-11) (testifying
that members of Congress will “focus only on [those] who they know will help reelect
them”); Shah (CD 18) (Shah Dep. 35:20-23) (noting that her representative “doesn’t care
about what we [his constituents] think or what we want,” focusing instead on his donors).
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that the 2011 Plan reduced their access to their representatives 14 and resulted in them

being placed in a congressional district with other voters with whom they had “absolutely

nothing in common.” Gallagher (CD 1) (Trial Tr. Dec. 6, 2017 AM 84:13-15); see also

Kellerman (CD 12) (Kellerman Dep. 41:4-10) (testifying that “my district should be able

to pick the representative who represents us”, but instead, her representative is chosen by

“a very different community”). 15

                                             II

       Plaintiffs allege that the 2011 map violates the Elections Clause of the United

States Constitution. The Elections Clause provides:

       The Times, Places and Manner of holding Elections for Senators and
       Representatives, shall be prescribed in each State by the Legislature thereof;
       but the Congress may at any time by Law make or alter such Regulations,
       except as to the Places of ch[oo]sing Senators.

       14
           See Gallagher (CD 1) (Trial Tr. Dec. 6, 2017 AM 84:25-85:2) (testifying that his
Congressman has never visited his section of the congressional district); Diakatos (CD 1)
(Trial Tr. Dec. 6, 2017 AM 94:3-5) (testifying that her Congressman has not visited her
county because the gerrymandered district prioritizes Philadelphia); Harmon (CD 5)
(Harmon Dep. 32:3-4) (noting that she no longer has a “local” representative, but would
“have to drive several hours” for a conversation); Davis (CD 9) (Davis Dep. 28:7-13)
(noting his congressman is “just so far away from us” based on the “configuration” of the
district); Polston (CD 17) (Trial Tr. Dec. 5, 2017 AM 111:4-18) (testifying that the
gerrymandering of her district reduced her access to her Congressman because he holds
town halls in parts of the district that are far from her home and difficult to reach).
        15
           The only plaintiff from Pennsylvania’s Fourth District testified that the map as a
whole seemed unfairly drawn, but her “particular district is not very gerrymandered”; it is
“one of the more compact ones,” Turnage Dep. 47:4-18, 48:4-5, and she was unsure
whether her particular district was fairly drawn, Turnage Dep. 48:11-12. She was also
unsure how, if at all, the shape of her district harmed her. Turnage Dep. 50:15-23. When
pressed on how the 2011 Plan specifically harmed her, she explained, “I can’t know
without having the information basically that . . . the redistricting committee has . . .
because I’m not sure how things might change if districting [were] done differently.”
Turnage Dep. 52:1-5. Thus, unlike the other Plaintiffs, she did not explain how the 2011
congressional districting specifically impacted her.
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U.S. Const. art. I, § 4, cl. 1. “[T]hese comprehensive words embrace authority to provide

a complete code for congressional elections, not only as to times and places,” but also as

to “procedure and safeguards.” Smiley v. Holm, 285 U.S. 355, 366 (1932).

       The Supreme Court has held, and the parties do not dispute, that the drawing of

congressional district lines is among the “time, place, and manner” tasks given to the

states. In League of United Latin American Citizens v. Perry, 548 U.S. 399 (2006)

(“LULAC”), for example, the Court explained that Section 2 of Article I and the

Elections Clause “leave[] . . . the States primary responsibility for apportionment of their

federal congressional . . . districts.” 548 U.S. at 414 (internal citations and quotation

marks omitted); see also id. at 415 (citing Smiley, 285 U.S. at 366-67, for the proposition

that “reapportionment implicated [a] State’s powers under Art. 1, § 4”).

       The Supreme Court’s conclusion that the power of state legislatures to draw

congressional districts is based on the Elections Clause is also consistent with the

Clause’s drafting history. During the Convention debates, James Madison noted that

regulating the “manner of holding elections” provided States with “great latitude” that

would include whether electors “should be divided into districts or all meet at one

place.” 16   The drafting history also shows that the Elections Clause limits a state’s

power when establishing congressional district lines. The Framers intended that the

Elections Clause provide a means to ensure that congressional elections actually occurred


        Max Farrand, The Founders’ Constitution, (The Records of the Federal
       16

Convention of 1787 ed., 1937), available at http://press-
pubs.uchicago.edu/founders/documents/a1_4_1s1.html.
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and that states sent representatives to the federal government. The Elections Clause

authorized Congress to intercede if a state adopted regulations that precluded

congressional elections and thereby withheld sending representatives from the state to the

federal government. 17 Ariz. State Legis. v. Ariz. Indep. Redistricting Comm’n, 135 S.

Ct. 2652, 2672 (2015) (“[T]he Clause was the Framers’ insurance against the possibility

that a State would refuse to provide for the election of representatives to the Federal

Congress.”).

       Several Framers also wanted to ensure that state regulations did not favor or

disfavor a class of candidates or dictate election outcomes. 18 These Framers took

seriously the possibility that states may use their grant of power under the Elections

Clause to favor particular candidates by, among other things, holding elections in seaport

towns to effectively “exclude the distant parts of the several States . . . from an equal

share in th[eir] government . . . .” 19 James Madison cautioned that “[w]henever the State

Legislatures had a favorite measure to carry, they would take care so to mould their


       17
           E.g., The Federalist No. 59, 397-403 (Alexander Hamilton) available at
http://press-pubs.uchicago.edu/founders/documents/a1_4_1s13.html (“Nothing can be
more evident, than that an exclusive power of regulating elections for the National
Government, in the hands of the State Legislatures, would leave the existence of the
Union entirely at their mercy. They could at any moment annihilate it, by neglecting to
provide for the choice of persons to administer its affairs.”);
        18
           Alexander Hamilton, however, deemed the possibility that the power to issue
election related regulations “might be employed in such a manner as to promote the
election of some [favorite] class of men in exclusion of others . . . chimerical.” The
Federalist No. 60, 403-10, available at http://press-
pubs.uchicago.edu/founders/documents/a1_4_1s14.html (last visited Nov. 20, 2017).
        19
           Herbert J. Storing, The Founders’ Constitution, (The Complete Anti-Federalist
ed., 1981), available at http://press-
pubs.uchicago.edu/founders/documents/a1_4_1s6.html (last visited Nov. 20, 2017).
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regulations as to favor the candidates they wished to succeed.” 20 It was partly in

response to concerns about states passing measures favoring candidates that the Elections

Clause was adopted. Indeed, a delegate at the Massachusetts ratifying convention

supported the adoption of the Elections Clause specifically because it allowed Congress

to override state election laws passed when “faction and party spirit run high[.]” 21

       Consistent with the foregoing concerns, the Supreme Court has acknowledged that

the Elections Clause was “intended to act as a safeguard against manipulation of electoral

rules by politicians and factions in the States to entrench themselves or place their

interests over those of the electorate.” Ariz. State Legis., 135 S. Ct. at 2672. As a result,

the Court has interpreted the Elections Clause “as a grant of authority to issue procedural

regulations, and not as a source of power to dictate electoral outcomes, to favor or

disfavor a class of candidates, or to evade important constitutional restraints.” U.S. Term

Limits, Inc. v. Thornton, 514 U.S. 779, 833-834 (1995). This authority extends “to

enact[ing] the numerous requirements as to procedure and safeguards which . . . are

necessary . . . to enforce the fundamental right involved,” Smiley, 285 U.S. at 366, by,

among other things, ensuring orderly, fair, and honest elections, Storer v. Brown, 415

U.S. 724, 724 (1974). The ability to adopt “evenhanded restrictions,” U.S. Term Limits,

Inc., 514 U.S. at 834 (internal quotations and citations omitted), thus falls within the

broad scope of the Elections Clause, Ariz. v. Inter Tribal Council of Ariz., Inc., 133 S. Ct.



       20
        2 Records of the Federal Convention 241 (M. Farrand rev. 1966).
       21
        Debate in Massachusetts Ratifying Convention (16-17, 21 Jan. 1788), in 2 The
Founders’ Constitution 256 (P. Kurland & R. Lerner eds. 1987).
                                             13
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2247, 2253 (2013). Accordingly, the Elections Clause imposes some constraints on a

state’s power in setting electoral rules, which include establishing congressional district

boundaries.

                                              III

       Having determined that the Elections Clause limits a state’s power in setting

election rules, we next address whether an Article III court has the authority to review a

claim that a state has abused its power in the drawing of congressional district lines.

       Article III of the Constitution limits the jurisdiction of federal courts to “Cases”

and “Controversies,” which ensures that courts only address justiciable matters. See Flast

v. Cohen, 392 U.S. 83, 94-95 (1968) (“Justiciability is the term of art employed to give

expression to . . . limit[s] placed upon federal courts by the case-and-controversy

doctrine.”). Cases may be non-justiciable because they are moot or not ripe, the plaintiff

lacks standing or seeks an advisory opinion, or the case presents a “political question.”

See id. at 95 (“[N]o justiciable controversy is presented when the parties seek

adjudication of only a political question, when the parties are asking for an advisory

opinion, when the question sought to be adjudicated has been mooted by subsequent

developments, and when there is no standing to maintain the action.”); DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 352 (2006) (“The doctrines of mootness, ripeness, and

political question all originate in Article III’s ‘case’ or ‘controversy’ language, no less

than standing does.”).




                                              14
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       Here, there is no claim that the case is moot, not ripe, or seeks an advisory

opinion, and it does not present a political question. 22 There are questions, however,


       22
          A case presents a nonjusticiable political question when it presents a matter that
“is entrusted to one of the political branches or involves no judicially enforceable rights.”
Vieth, 541 U.S. at 277 (internal citations omitted). In Baker v. Carr, the Supreme Court
provided six independent tests for deciding whether a question is entrusted to a political
branch:

       [1] a textually demonstrable constitutional commitment of the issue to a
       coordinate political department; or [2] a lack of judicially discoverable and
       manageable standards for resolving it; or [3] the impossibility of deciding
       without an initial policy determination of a kind clearly for nonjudicial
       discretion; or [4] the impossibility of a court’s undertaking independent
       resolution without expressing lack of the respect due coordinate branches of
       government; or [5] an unusual need for unquestioning adherence to a political
       decision already made; or [6] the potentiality of embarrassment from
       multifarious pronouncements by various departments on one question.

369 U.S. 186, 217 (1962).
        To determine whether the Elections Clause textually commits a matter to a
coordinate branch of government, we must “interpret the text in question and determine
whether and to what extent the issue is textually committed.” Nixon v. United States,
506 U.S. 224, 228 (1993). “[T]he concept of a textual commitment to a coordinate
political department is not completely separate from the concept of a lack of judicially
discoverable and manageable standards for resolving it; the lack of judicially manageable
standards may strengthen the conclusion that there is a textually demonstrable
commitment to a coordinate branch.” Nixon, 506 U.S. at 228–29.
        While there is no doubt that the Elections Clause textually commits certain tasks
to Congress, it does not expressly commit to it the determination of whether a state
regulation violates the Clause. Rather, the Elections Clause expressly permits Congress
to “at any time by Law make or alter [state] Regulations [concerning the time, place, and
manner of the election of members of the House of Representatives and the Senate],
except as to the Places of ch[oo]sing Senators.” U.S. Const. art. I, § 4, cl. 1.
        Thus, Congress plays a critical but nonexclusive role in reviewing state election
laws. Indeed, the Supreme Court has rejected an interpretation of the Elections Clause
that “give[s] Congress ‘exclusive authority’ to protect the right of citizens to vote for
Congressmen,” and instead has observed that “nothing in the language of [the Elections
Clause] gives support to a construction that would immunize state congressional
apportionment laws that debase a citizen’s right to vote from the power of courts to
protect the constitutional rights of individuals from legislative destruction[.]” Wesberry
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whether the Plaintiffs have established standing to bring their claim and whether they

have presented a legally cognizable standard for adjudicating a political gerrymandering

claim.

                                               A

         “A party has standing only if he shows that he has suffered an ‘injury in fact,’ that

the injury is ‘fairly traceable’ to the conduct being challenged, and that the injury will

likely be ‘redressed’ by a favorable decision.” Wittman v. Personhuballah, 136 S. Ct.

1732, 1736 (2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61

(1992)). To satisfy the “injury in fact” requirement, a plaintiff must demonstrate “an

invasion of a legally protected interest which is (a) concrete and particularized, and (b)

actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (internal

quotations and alterations omitted). “[A] generally available grievance about




v. Sanders, 376 U.S. 1, 6 (1964). Thus, the Elections Clause does not reflect a textual
commitment to Congress to evaluate whether a state regulation violates the Constitution.
        This view is consistent with the fact that the Supreme Court has itself determined
whether a state regulation violates the Elections Clause. See, e.g., Smiley, 285 U.S. at
373 (invalidating a congressional map for noncompliance with the Elections Clause);
Cook v. Gralike, 531 U.S. 510, 525 (2001) (holding that an amendment to the Missouri
state constitution violated the Elections Clause); Wesberry, 376 U.S. at 6 (holding, in an
Elections Clause case, congressional apportionment cases to be justiciable); Ala. Legis.
Black Caucus v. Alabama, 135 S. Ct. 1257 (2015) (resolving dispute over whether
redistricting plan violated the Equal Protection Clause). As such, the plain text of the
Elections Clause cannot be read to commit this issue in this case to a coordinate political
branch. Furthermore, while Plaintiffs have not provided a legally sufficient standard to
resolve their claim, a standard could be crafted that does not involve a policy
determination better made by the political branches. Thus, a claim that a state regulation
concerning congressional districting violates the Elections Clause does not present a
nonjusticiable political question.
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government—claiming only harm to his and every citizen’s interest in proper application

of the Constitution and laws”—does not confer standing. Id. at 573.

       Almost all of the plaintiffs testified that, as a result of the 2011 Plan, their votes

are diluted, their options are restricted such that they cannot make meaningful electoral

choices, they have reduced access to their congressmen, their representatives are less

responsive to them, and they have been placed in congressional districts that are not

representative of their communities. Similar harms have been recognized as

constitutional injuries in other challenges to state districting maps. See, e.g., United

States v. Hays, 515 U.S. 737, 744 (1995) (describing the representational injury in fact

caused by racial gerrymandering as follows: “[w]hen a district obviously is created solely

to effectuate the perceived common interests of one racial group, elected officials are

more likely to believe that their primary obligation is to represent only the members of

that group, rather than their constituency as a whole”) (citation omitted); Shaw v. Reno,

509 U.S. 630, 636-37, 640-42 (1993) (concluding that a racial gerrymandering claim had

been stated by North Carolina residents who alleged vote dilution and explaining that

“[t]he right to vote can be affected by a dilution of voting power as well as by an absolute

prohibition on casting a ballot” and that electoral schemes can “violate the Fourteenth

Amendment when they are adopted with a discriminatory purpose and have the effect of

diluting minority voting strength”) (quoting Allen v. State Bd. of Elections, 393 U.S. 544,

569 (1969)). Thus, these harms constitute concrete and particularized injuries in fact.

       Defendants’ reliance on Lance v. Coffman, 549 U.S. 437 (2007), for the

proposition that Plaintiffs have asserted only generalized grievances is unavailing. In

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Lance, four Colorado citizens alleged an Elections Clause violation because the Colorado

Supreme Court gave effect to a judicially-created redistricting plan instead of a plan

passed by the Colorado legislature. Id. at 437-38. In dismissing the plaintiffs’ claims for

lack of standing, the Supreme Court concluded that “[t]he only injury plaintiffs allege is

that the law—specifically the Elections Clause—has not been followed,” and therefore,

plaintiffs alleged only an “undifferentiated, generalized grievance about the conduct of

government.” Id. at 442. Unlike Lance, Plaintiffs’ challenge here is not about whether

the legislature or a court can impose a redistricting plan under the Elections Clause, nor

do Plaintiffs seek relief based upon an injury to an institution that lost its ability to adopt

a redistricting plan. Instead, each plaintiff (except one) has identified personal harms

caused by the 2011 Plan—vote dilution, absence of meaningful electoral choice, non-

representative and non-responsive congressmen, and lack of access to their

congressmen—which are distinguishable from the Lance plaintiffs’ generalized

grievance. The harm that the Lance plaintiffs alleged “is quite different from the sorts of

injuries alleged by plaintiffs in voting rights cases” such as Baker, 369 U.S. at 207-08

(involving a malapportionment claim) “where [the Supreme Court] found standing,”

Lance, 549 U.S. at 442; see also Smiley, 285 U.S. at 372-73 (ruling on the merits of an

Elections Clause claim by a Minnesota “citizen, elector, and taxpayer” seeking to

invalidate a reapportionment plan); Whitford v. Gill, 218 F. Supp. 3d 837, 930 (W.D.

Wis. 2016) (finding standing of Wisconsin Democrats to bring a partisan gerrymandering

claim based on the “personal” injury of vote dilution). Thus, the types of harms that all

but one plaintiff have described constitute concrete and particularized injuries.

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       The question remains whether Plaintiffs have standing to pursue a claim that

Pennsylvania’s entire congressional map violates the Elections Clause, which is the

approach they have selected rather than making district-specific challenges. See Pls.’

Statement of the Elements They Must Prove at 1-2, (Dec. 3, 2017), ECF No. 173

(describing intent and effect in terms of statewide election results) (“Pls’ Stmt. of the

Elements”); Pls.’ Br. Regarding the Elements of Their Claims at 8-9, (Nov. 30, 2017),

ECF No. 157 (“A partisan gerrymander is necessarily on a statewide basis . . . . It is an

unnecessary hurdle to show intent district by district when all the districts are being

shaped by state wide election data.”).

       There is currently no binding precedent addressing whether a single plaintiff can

challenge an entire map on partisan gerrymandering grounds or whether a plaintiff from

every district is necessary. Among three-judge panels, there are split views on this

subject. Compare Common Cause v. Rucho, Nos. 16-1026, 16-1164, slip op. 1, 21-37

(M.D.N.C. Jan. 9, 2018) (analogizing to the malapportionment cases and holding that a

single plaintiff can maintain a statewide challenge); Whitford, 218 F. Supp. 3d at 927-30

(same); Whitford v. Nichol, 151 F. Supp. 3d 918, 925 (W.D. Wis. 2015) (“In each of the

three cases in which the Supreme Court considered partisan gerrymandering claims, the

plaintiffs were challenging the plan statewide, yet only one Justice (Justice Stevens)

questioned the plaintiffs’ standing.”) with Ala. Legis. Black Caucus v. Alabama, Nos. 12-

cv-691 & 12-cv-1081, 2017 WL 4563868, at *4-5 (M.D. Ala. Oct, 12, 2017) (explicitly

disagreeing with Whitford and stating that plaintiffs bringing a partisan gerrymandering

claim “lack standing to challenge districts in which they do not live,” thereby implying

                                             19
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that a statewide challenge requires a plaintiff from each district); Comm. for a Fair and

Balanced Map v. Ill. Bd. of Elections, No. 1:11-cv-5065, 2011 WL 5185567, at *1 n.1

(N.D. Ill. Nov. 1, 2011) (“To demonstrate injury in fact, a vote dilution plaintiff must

show that he or she (1) is registered to vote and resides in the district where the

discriminatory dilution occurred; and (2) is a member of the minority group whose voting

strength was diluted.”); see also Radogno v. Ill. State Bd. of Elections, No. 1:11-cv-

04884, 2011 WL 5025251, at *4 (N.D. Ill. Oct. 21, 2011) (stating that “standing analysis

for political gerrymandering claims . . . is not particularly clear”). The racial

gerrymandering cases, and their requirement that a plaintiff may only challenge racial

gerrymandering in the district in which he or she resides, however, support a requirement

that a statewide partisan gerrymandering challenge can be brought only if there is a

plaintiff from each district who sustained an injury in fact. See Hays, 515 U.S. at 744-45

(holding that plaintiffs asserting a racial gerrymander can demonstrate injury for standing

purposes only where the “plaintiff resides in a racially gerrymandered district” because

individuals not in the challenged districts do not suffer “the special representational

harms racial classifications can cause in the voting context,” with the representational

harm being that an elected official “believe[s] that their primary obligation is to represent

only the members of [a favored] group, rather than their constituency as a whole”). 23


       23
           In contrast, plaintiffs from any district challenging malapportionment caused by
a districting plan may bring statewide challenges. See Baker, 369 U.S. 186 at 187, 204-
08 (concluding that a malapportionment claim brought by residents of five out of
Tennessee’s ninety-five counties had standing and describing the vote dilution that results
from malapportionment); Reynolds v. Sims, 377 U.S. 533, 537 (1964) (noting that
“residents, taxpayers, and voters of Jefferson County, Alabama” brought a
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       Applying the same requirement in both partisan and racial gerrymandering cases

makes sense. First, both racial and political gerrymandering involve harms relating to

diminished representation of a particular group rather than the unequal representation of a

specific individual. See Ala. Legis. Black Caucus, 2017 WL 4563868, at *4 (“Like racial

gerrymandering, partisan gerrymandering has the effect of muting the voices of certain

voters within a given district.”). Second, the representational injury articulated in racial

gerrymandering claims—that “elected officials are more likely to believe that their

primary obligation is to represent only the members of [the favored] group, rather than

their constituency as a whole,” Hays, 515 U.S. at 744—is the same type of injury that

occurs in partisan gerrymandering cases. A person living in a non-gerrymandered district

does not suffer this representational harm, but a person who resides in such a district

does. 24 Id. at 745. Third, if a statewide partisan gerrymandering claim were permitted


malapportionment case “in their own behalf and on behalf of all similarly situated
Alabama voters”); Wesberry, 376 U.S. at 2 (noting that the plaintiffs who brought the
malapportionment claims “are citizens and qualified voters of Fulton County, Georgia . . .
entitled to vote in congressional elections in Georgia’s Fifth Congressional District . . .
[which is] one of ten” congressional districts).
        24
           Notably, three of the five Justices who found partisan gerrymandering is
justiciable have said that such claims require a district-by-district approach. See Vieth,
541 U.S. at 271-81 (plurality of four Justices finding political gerrymandering to be
nonjusticiable without referencing standing), id. at 306-17 (Kennedy, J., concurring)
(concluding that partisan gerrymandering claims may be justiciable in the future; no
discussion of standing), id. at 317-19, 327 (Stevens, J., dissenting) (suggesting that a
plaintiff only has standing to challenge his or her own district because “racial and
political gerrymanders are species of the same constitutional concern”), id. at 353 (Souter
& Ginsberg, JJ., dissenting) (“I would limit consideration of a statewide claim to one
built upon a number of district-specific ones.”). In a later decision, Justice Stevens
reiterated his view that a district-by-district approach is required. See LULAC, 548 U.S.
at 475 (Stevens, J., concurring in part and dissenting in part) (“[T]o have standing to
challenge a district as an unconstitutional partisan gerrymander, a plaintiff would have to
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without requiring a plaintiff from every district, then partisan gerrymanders would be

easier to challenge than racial gerrymanders. This would be inconsistent with our

complete intolerance for race-based gerrymanders, which should never be harder to bring

than a partisan gerrymander, where some consideration of politics is tolerable. Therefore,

Plaintiffs have standing to bring their statewide challenge only if they can demonstrate an

injury to at least one plaintiff in each of Pennsylvania’s eighteen districts.

       Plaintiffs have adduced evidence that plaintiffs from seventeen of the eighteen

districts suffered an injury in fact. They, however, failed to present facts to show that the

plaintiff from the Fourth Congressional District sustained an injury sufficient to confer

standing. Although this plaintiff testified (by deposition) that the state map as a whole

seemed unfairly drawn, she said that “her particular district is not very gerrymandered”

because it is “one of the more compact ones,” and she was unsure how, if at all, the shape

of her district harmed her. Turnage Dep. 47:4-18, 48:4-5, 50:13-23. 25 Unlike the other

plaintiffs, she has not asserted that her vote is diluted, that she experienced decreased

choice, non-representative or non-responsive congressmen, lack of access to the district’s



prove that he is either a candidate or a voter who resided in a district that was changed by
a new districting plan.”) These Justices therefore would seem to require a plaintiff from
each district to challenge a state’s entire map.
        25
           To be clear, this plaintiff’s failure to demonstrate standing is not because she did
not invoke any talismanic words. A party asking a court to “exercise . . . jurisdiction in
his favor” has the burden to “clearly . . . allege facts demonstrating that he is a proper
party to invoke judicial resolution of the dispute. And when a case has proceeded to final
judgment after a trial, as this case has, those facts (if controverted) must be supported
adequately by the evidence adduced at trial to avoid dismissal on standing grounds.”
Hays, 515 U.S. at 743 (internal quotations and citations omitted). Here, Plaintiffs have
failed to present facts showing that this plaintiff suffered an Article III injury in fact.
                                              22
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representative, or otherwise explained how the 2011 Plan impacted her. Thus, she has

asserted only a generalized grievance that does not establish injury in fact. Accordingly,

because Plaintiffs have not presented a plaintiff from each congressional district who

sustained an injury in fact, Plaintiffs’ statewide challenge fails for lack of standing. 26

                                               B

       Even if Plaintiffs had standing, they have failed to present a legally supported

standard for resolving their claim that the 2011 Plan violates the Elections Clause.

Before examining Plaintiffs’ standard, it is important to recognize that the Supreme Court

has held partisan gerrymandering as a general matter can be justiciable. In Davis v.

Bandemer, 478 U.S. 109, 117 (1986), a majority of the Supreme Court held that partisan

gerrymandering claims are justiciable under the Equal Protection Clause. Subsequent

Supreme Court precedent has not disturbed this conclusion. Although a four-Justice

plurality in Vieth—where the Court reviewed an earlier Pennsylvania congressional

district map alleged to have been politically gerrymandered in violation of the Equal

Protection Clause—held that because “no judicially discernible and manageable

standards for adjudicating political gerrymandering have emerged . . . we must conclude



       26
          The Legislative Defendants also asserted that Plaintiffs lack standing because
their claim is not redressable, Legis. Defs.’ Br. in Supp. Rule 52(c) Mot. (ECF 185) at 4-
6, but this argument is meritless because courts have authority to invalidate
unconstitutional redistricting plans and order defendants to redraw maps, which could
provide a remedy for Plaintiffs’ injuries, See, e.g., Bush v. Vera, 517 U.S. 952, 956-57
(1996) (affirming the district court’s holding that three districts in Texas’s redistricting
plan were unconstitutional racial gerrymanders); Miller v. Johnson, 515 U.S. 900, 903-
04, 917-28 (1995) (affirming the district court’s conclusion that one district in Georgia’s
congressional redistricting plan was an unconstitutional racial gerrymander).
                                              23
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that political gerrymandering claims are nonjusticiable . . . .” 541 U.S. at 281, a majority

of the Court disagreed. Four Justices opined that such a claim was justiciable and offered

possible standards for proving a claim under the Equal Protection Clause. Id. at 340, 346,

368. The fifth Justice, Justice Kennedy, stated that he “would not foreclose all possibility

of judicial relief if some limited and precise rationale were found to correct an established

violation of the Constitution in some redistricting cases.” Id. at 306 (Kennedy, J.,

concurring).

       While the Supreme Court has not yet been asked to decide if judicially

manageable standards could be devised to evaluate a claim of partisan gerrymandering

under the Elections Clause, it has applied a judicially manageable standard to Elections

Clause claims in other contexts. For instance, in Cook, the Supreme Court examined

whether a Missouri constitutional amendment that, among other things, sought to include

on the ballot a candidate’s position on a specific term limits provision, “dictate[d]

electoral outcomes . . . favor[ed] or disfavor[ed] a class of candidates, or . . . evade[d]

important constitutional restraints” in violation of the Elections Clause and concluded

that it was “plainly designed to favor [certain] candidates[.]” 531 U.S. at 523-24. The

Court relied on the “intended effect” of the Missouri provision in “handicap[ping]

candidates” who fail to support the term limits amendment, id. at 525, as well as the fact

that the provision could not be justified as “necessary in order to enforce the fundamental

right involved,” id. at 524 (quoting Smiley, 285 U.S. at 366), or to ensure orderly, fair,

and honest elections “rather than chaos,” id. (quoting Storer, 415 U.S. at 730).



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       In his concurrence, Justice Kennedy noted that the “limited power” given to states

under the Elections Clause allows them to enact “neutral provisions as to the time, place,

and manner of elections . . . .” Id. at 527 (Kennedy, J., concurring). He also observed

that non-neutral provisions that favor or disfavor a class of candidates “interfere with the

direct line of accountability between the National Legislature and the people who elect

it,” and that such interference is not consistent with “the design of the Constitution []or

sound principles of representative government[.]” Id. at 528 (Kennedy, J., concurring).

Thus, a judicially manageable standard could be devised to bring a claim under the

Elections Clause. Rucho, slip op. at 175-87 (concluding that a partisan gerrymandered

congressional districting plan violates the Elections Clause).

                                              C

       In the context of partisan gerrymandering, plaintiffs must present a judicially

manageable standard. See Shapiro, 136 S. Ct. at 456 (suggesting that a political

gerrymandering claim may proceed where the plaintiff presented “a plea for relief based

on a legal theory put forward by a Justice of this Court and uncontradicted by the

majority in any of our cases”); Ala. Legis. Black Caucus v. Alabama, 988 F. Supp. 2d

1285, 1295-96 (M.D. Ala. 2013) (dismissing partisan gerrymandering claim because the

plaintiffs “failed to provide . . . ‘a judicial standard by which we can adjudicate the

claim’”); Perez v. Perry, 26 F. Supp. 3d 612, 622-24 (W.D. Tex. 2014) (same); Comm.

for a Fair and Balanced Map v. Ill. Bd. of Elections, No. 1:11-cv-5065, 2011 WL

5185567 at *11-12 (N.D. Ill. Nov. 1, 2011) (same). As a result, I will next examine

Plaintiffs’ proposed standard to determine if it is legally sound and workable.

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       At the outset of this case, Plaintiffs suggested a standard that barred any

consideration of partisanship in drawing congressional district lines. Our panel informed

Plaintiffs that such a standard was likely inconsistent with both the Elections Clause and

the Supreme Court’s comments about the role of politics in this area. See Order for Pls.

to Clarify Elements of Proof, (Dec. 1, 2017), ECF No. 169. We specifically noted that

this standard ignored both that the political branches are usually the entities involved in

the creation of election procedures and the Supreme Court’s observation, albeit in

gerrymandering cases under other constitutional provisions, that politics is part of the

districting process. See, e.g., Gaffney v. Cummings, 412 U.S. 735, 753 (1973) (observing

that “[p]olitics and political considerations are inseparable from districting and

apportionment”).

       Plaintiffs responded with the following standard:

       To find a violation of the Elections Clause in a redistricting case, Plaintiffs
       must prove that those who created the map manipulated the district
       boundaries of one or more Congressional districts, intending to generate an
       expected number of winning seats for the party controlling the process that
       is greater than the expected number of winning seats that would be
       determined by the voters if the districts were drawn using even-handed
       criteria.

       Plaintiffs must prove that the map-drawers’ discriminatory intent was a
       substantial motivating factor in their line-drawing decisions, even if they also
       considered other factors.

       Plaintiffs must prove that the drafters of the map achieved their intended
       goal, in that the map resulted in a Congressional delegation composition that
       even a majority of the people could not substantially change.

       Plaintiffs may prevail by showing that the composition of the state’s
       Congressional delegation as a whole resulted from the use of partisan data,
       such that the map itself, rather than the voters, solidified that composition. It

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       is no defense that a few districts remained competitive, or that some districts
       were designed to protect incumbents of the disfavored party.

Pls’ Stmt. of the Elements (subheadings omitted). 27 This standard is legally flawed. For

example, part of the standard seems to rest on an assumption that there is a guarantee of

proportional representation among political parties. This view has been rejected. See

LULAC, 548 U.S. at 419 (opinion of Kennedy, J.) (“To be sure, there is no constitutional

requirement of proportional representation . . . .”); Vieth, 541 U.S. at 288 (plurality

opinion of four justices) (stating that “the Constitution contains no such principle” that

“political-action groups[] have a right to proportional representation” and “nowhere says

that farmers or urban dwellers, Christian fundamentalists or Jews, Republicans or

Democrats, must be accorded political strength proportionate to their numbers”), id. at

338 (Stevens, J., dissenting) (“The Constitution does not, of course, require proportional

representation of racial, ethnic, or political groups. In that I agree with the plurality. We

have held however, that proportional representation of political groups is a permissible

objective . . . .”), id. at 352 n.7 (Souter & Ginsburg, JJ., dissenting) (“agree[ing] with this


       27
          Plaintiffs also assert that the 2011 Plan violates the Elections Clause and, as a
result, deprives Plaintiffs of their Privileges and Immunities under the Fourteenth
Amendment. Compl. ¶ 33. In their Rule 52 motion, the Legislative Defendants do not
challenge Plaintiffs’ reliance on the Privilege and Immunities Clause. This is for good
reason. A state’s unconstitutional interference with the right to vote violates that Clause.
As the Supreme Court observed in United States v. Classic, 313 U.S. 299, 325 (1941), the
right to vote is “a right or privilege secured by the Constitution.” See also Wesberry, 376
U.S. at 6-7 (“The right to vote is too important in our free society to be stripped of
judicial protection.”). As Justice Kennedy has noted, “national citizenship has privileges
and immunities protected from state abridgement by the force of the Constitution itself.”
Thornton, 514 U.S. at 842. Thus, a regulation issued under the Elections Clause that
interferes with the right to vote is a violation of a citizen’s privilege and immunities.

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Court’s earlier statements that the Constitution guarantees no right to proportional

representation” but stating that it “does not follow that the Constitution permits every

state action intended to achieve any extreme form of disproportionate representation”);

Bandemer, 478 U.S. at 130 (plurality opinion) (“Our cases . . . clearly foreclose any claim

that the Constitution requires proportional representation or that legislatures in

reapportioning must draw district lines to come as near as possible to allocating seats to

the contending parties in proportion to what their anticipated statewide vote will be.”).

       In addition, Plaintiffs’ standard’s effect element is inconsistent with Supreme

Court precedent. Plaintiffs’ assertion that they “must prove . . . that the map resulted in a

Congressional delegation composition that even a majority of the people could not

substantially change,” Pls’ Stmt. of the Elements at 2, was rejected in Vieth. See Vieth,

541 U.S. at 286 (rejecting an effects prong that tests whether “the ‘totality of

circumstances’ confirms that the map can thwart the plaintiff’s ability to translate a

majority of votes into a majority of seats”). In fact, Plaintiffs’ assertion that they must

prove effects at all in an Elections Clause challenge appears to conflict with Cook, where

the Supreme Court invalidated the challenged election regulation based solely on an

analysis of the Missouri legislature’s intent. See Cook, 531 U.S. at 524 (holding that the

challenged election regulation is “plainly designed” to favor certain candidates and its

“intended effect” was to “handicap” certain candidates).

       Moreover, even if Plaintiffs’ proposed standard were not in tension with the

foregoing Supreme Court precedent, its focus on the conduct of the “party controlling the

process” renders the test inapplicable to situations where the two political parties equally

                                              28
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control the process, i.e., when the two houses of the state legislature are of differing

parties. For these reasons, Plaintiffs have not presented a legally supported standard.

       Furthermore, even if Plaintiffs’ standard was legally sufficient, they still would not

prevail. While they have adduced considerable evidence demonstrating that partisanship

played a major role in drawing congressional district lines, 28 they did not show how what



       28
          This evidence included: (1) Turzai’s statement on the floor of the House, in
which he said “[p]olitics may be taken into account as a factor, although not the
controlling factor,” Legis. Defs.’ Ex. 22 at 2735, (2) the mapmakers reliance on largely
partisan data, including voter registration and election returns information at the most
granular geographic levels, (3) the apparent packing and cracking of Democratic voters in
a few districts, including packing two Democratic incumbents into a newly drawn
Twelfth Congressional District that was Republican-leaning, which was clearly designed
to replace two Democratic seats with one republican seat, (4) the process used to create
the 2011 map, which included (a) not disclosing the municipalities and counties assigned
to each district until less than twenty-four hours before the map was presented for a vote,
and (b) the staffers’ focus on implementing the desires of Republican “stakeholders” and
securing the required votes to pass the plan, (5) the fact that in each of the three
congressional elections since the 2011 Plan took effect have resulted in electing thirteen
Republicans and five Democratic congressman, showing that 72 percent of the seats
going to Republicans despite the fact Republicans won only 49 to 56 percent of the vote
in those elections, and (6) the highly unusual shape of several districts, with no evidence
showing they were designed based on neutral criteria. See, e.g., Cooper v. Harris, 137 S.
Ct. 1455, 1463-64 (2017) (stating that a claim of racial gerrymandering requires proof
that the legislature “subordinated” other redistricting factors to racial considerations,
which may be established “through direct evidence of legislative intent, circumstantial
evidence of a district's shape and demographics, or a mix of both”); Hunt v. Cromartie,
526 U.S. 541, 547-49 & n.3 (1999) (stating that circumstantial evidence of “a district’s
unusual shape can give rise to an inference of political motivation” and that some districts
are “so highly irregular that [they] rationally cannot be understood as anything other than
an effort to segregate . . . voters on the basis of race” (quoting Shaw v. Reno, 509 U.S.
630, 646-47 (1993)); Bush v. Vera, 517 U.S. 952, 979 (1996) (plurality opinion) (stating
that the court has found that “three districts are bizarrely shaped and far from compact”
primarily due to racially motivated gerrymandering); Miller v. Johnson, 515 U.S. 900,
913 (1995) (“Shape is relevant . . . because it may be persuasive circumstantial evidence
that race for its own sake, and not other districting principles, was the legislature's
dominant and controlling rationale in drawing its district[]lines.”).
                                             29
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they have labeled (but did not define) as “even handed-criteria” would generate “the

expected number of winning seats” and how a map drawn applying such criteria would

still comply with the equal populations requirements set forth in Reynolds v. Sims, 377

U.S. 533, 577 (1964) (construing the Equal Protection Clause to require the construction

of districts “as nearly of equal population as is practicable”), and the Voting Rights Act.

For this additional reason, Plaintiffs are not entitled to relief.

                                               IV

       Our colleague has proposed a different standard. That standard, however, focuses

on the perspective of the voter and whether the regulation will discourage voting, rather

than on whether the regulation favors or disfavors a candidate or dictates electoral

outcomes, as prohibited by the Elections Clause. 29 While his concern about voter

alienation is very well-taken and may be a consequence of an improper election

regulation, it is not the focus of the Elections Clause. Rather, a gerrymandering claim

under the Elections Clause requires a plaintiff to prove that the challenged regulation was



       29
          Our colleague also concludes that a plaintiff challenging a congressional
districting plan based on partisan gerrymandering must prove that such a plan violates the
Elections Clause by clear and convincing evidence. While he makes an excellent point
that courts should only intervene in the most exceptional circumstances and that such a
proof requirement helps to ensure that judicial intervention will occur in limited
circumstances, I would apply a preponderance of the evidence burden of proof in such
cases because that is the standard the Supreme Court applies in resolving racial
gerrymandering cases, which involve similar claims and seek the same relief as partisan
gerrymandering cases. See, e.g., Cooper v. Harris, 137 S. Ct. 1455, 1479-80 & n.15
(2017) (stating that proving a racial gerrymander in violation of the Equal Protection
Clause does not require a specific type of evidence: “if the plaintiffs have already proved
by a preponderance of the evidence that race predominated in drawing district lines, then
we have no warrant to demand that they jump through additional evidentiary hoops”).
                                               30
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“plainly designed” to favor or disfavor a candidate or dictate electoral outcomes. Cook,

531 U.S. at 523-24. Furthermore, a defendant confronted with an accusation that a

regulation violates the Elections Clause in this way would be required to show that non-

partisan traditional districting criteria 30 would have resulted in the same regulation, even


       30
           The Supreme Court has made clear that one person, one vote is a mandatory
requirement for each map, meaning districts must be “as nearly of equal population as
practicable,” Reynolds, 377 U.S. at 577, and deviations of less than one percent have
been deemed unconstitutional, see Karcher v. Daggett, 462 U.S. 725, 727 (1983)
(affirming the District Court’s finding that New Jersey’s redistricting plan violated equal
population requirements where the population deviation among districts was less than
one percent). In addition, the Court has recognized the obligation to comply with the
Voting Rights Act, 42 U.S.C. § 1973, and identified other traditional neutral facts used to
draw district lines such as contiguity, compactness, political subdivisions, geography,
history, and incumbency. See, e.g., Harris, 136 S. Ct. at 1306 (recognizing “traditional
districting principles such as compactness and contiguity . . . a state interest in
maintaining the integrity of political subdivisions . . . or the competitive balance among
political parties” (internal brackets, quotation marks, and citations omitted)); Ala. Legis.
Black Caucus, 135 S. Ct. at 1270 (identifying “traditional race-neutral districting
principles” such as “compactness, contiguity, respect for political subdivisions or
communities defined by actual shared interests, incumbency protection, and political
affiliation”); Vieth, 541 U.S. at 284 (plurality opinion) (listing the following potential
goals that a districting map might seek to pursue besides partisan advantage: “contiguity
of districts, compactness of districts, observance of the lines of political subdivision,
protection of incumbents of all parties, cohesion of natural racial and ethnic
neighborhoods, compliance with requirements of the Voting Rights Act of 1965
regarding racial distribution, etc.”); id. at 300 (plurality opinion) (noting “the time-
honored criterion of incumbent protection” as the “neutral explanation” for when the
party receiving the majority of votes fails to acquire a majority of seats in two successive
elections); id. at 348 (Souter, J., dissenting) (identifying “traditional districting factors . . .
[of] contiguity, compactness, respect for political subdivisions, and conformity with
geographic features like rivers and mountains”); Bandemer, 478 U.S. at 167-68 (1986)
(recognizing that “districts should be compact and cover contiguous territory” and
“[a]dher[e] to community boundaries” in order to “allow communities to have a voice in
the legislature that directly controls their local interests”); Sims, 377 U.S. at 578-79
(majority opinion) (“A State may legitimately desire to maintain the integrity of various
political subdivisions, insofar as possible, and provide for compact districts of contiguous
territory in designing a legislative apportionment scheme. Indiscriminate districting,
without any regard for political subdivision or natural or historical boundary lines, may
                                                31
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in the absence of partisan considerations that favor or disfavor a candidate or dictate

electoral outcomes. 31 A standard that requires a plaintiff to prove that the challenged

regulation was plainly designed to favor or disfavor a candidate or dictate electoral

outcomes and which provides the defendant with an opportunity to pursue a defense that

justifies its districting decisions is both consistent with the Elections Clause and

recognizes that politics may play a role in the process so long as it does not dictate

outcomes or favor candidates. Plaintiffs, however, did not present such a standard.

                                           ****

       When elected officials concoct a system whereby they choose the representative

for the voter rather than the other way around, Ariz. State Legis., 135 S. Ct. at 2677, they

undermine our system of representative government. The Elections Clause, its history,

and precedent show that Congress has the authority to address this issue. Under some

circumstances, the Elections Clause also provides an avenue for the courts to ensure that

the right to vote is untrammeled. Indeed, when a regulation so disrupts the voting

process that a citizen’s vote is rendered meaningless, and all requirements for Article III

are met, that regulation is not immune from judicial review, Wesberry, 376 U.S. at 6.

                                           ****


be little more than an open invitation to partisan gerrymandering.”); Shapiro v.
McManus, 203 F. Supp. 3d 597 (D. Md. 2016) (majority opinion) (identifying “legitimate
districting considerations, including the maintenance of communities of interest, and even
the protection of incumbents of all parties”).
        31
           Political considerations are part of the redistricting process, see Gaffney, 412
U.S. at 753 (observing that “‘[p]olitics and political considerations are inseparable from
districting and apportionment”), but such considerations become impermissible under the
Elections Clause when they amount to dictating electoral outcomes.
                                              32
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                                    V.

For these reasons, I would grant the Legislative Defendants’ Rule 52 motion.



                                         s/Patty Shwartz
                                         United States Circuit Judge




                                    33
